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                                            UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF OREGON

   UNITED STA TES OF AMERICA                                                                                  ORDER SETTING CONDITIONS
                        v.                                                                                                  OF RELEASE

   Jennifer Lynn Kristiansen                                                                                           Case Number: 3:20-cr-245 IM

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)       The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.
(2)       The defendant must cooperate in the collection ofa DNA sample if the collection is authorized by 42 U.S.C § 14135a.
(3)       The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
          address and telephone number.
(4)       The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
          The defendant shall next appear as directed by U.S. District Court.

                                                          Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
     •  Comply with the following curfew: 10:00 p.m. to 6:00 a.m.
     •  Do not enterwithin 5 blocks of the U.S. Courthouse at 1000 S.W. Third Avenue, Portland, Oregon 97204 unless you have
        official court business or prior approval of the Court.


                                  Advice of Penalties and Sanctions
TO THE DEFENDANT:
      YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the fQregoing conditions of release may resuh in the immediate issuance of a warrant for your arrest, a revocalion of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a line, or both.

            The commission of any crime while on pre-trial release may result in an additional sentence to a tenn of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in addition
to any other sentence.

          Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to intimidate
a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, orto retaliate against a witness, victim or informant, or to threaten
or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

( I)      an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;
(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than $250,000
          or imprisoned for.no more than five years, or both;
(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;
(4)       a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.
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                                                           Acknowledgment of Defendant
          I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                        Signature of Defendant



                                                                                                            City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
D       Alcohol detection
D       Drug detection
D       Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
0       The defendant is ORDERED released after processing,
D       The defendant is ORDERED temporarily released,
D       The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
        judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
        availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
        produced before the duty Magistrate Judge on _ _ _ _ _ _ _ _ _ _ _ _ _ at - - - - - - - - ' - - - - -




                                                                                                   rl
                                                                                                  Signature of Judicial Officer
                                                                                                        John V. Acosta
                                                                                                      U.S. Magistrate Judge
                                                                                               Name and Title of Judicial Officer



cc:      Defendant
         US Attorney
         US Marshal
         Pretrial Services




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